Case 2:04-cr-20506-.]PI\/| Document 32 Filed 08/29/05 Page 1 of 3 Page|D 61

 

IN THE UNITED sTATEs DISTRICT coURT H.EJBY_,_ ._....._.oc.
FOR THE wESTERN DISTRICT OF TENNESSEE

wEsTERN DIVISION 051\1]£.29 Mq 5:1,2

WMMSULD
CLEFKU.S.DISTH¥CHI}EHT

UNITED STATES OF AMERICA W}D@FTN'MEMPHS

Plaintiff,
v. Criminal No.()f - QDFO(v Ml

 

 

 

 

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Defendant(S).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUA.NCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav. October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 26th day of August, 2005.

Th\s document entered on the docket sheet in compliance
wlth Hule 55 and/or 32(b) FF\CrP on ' " 32/

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Case 2:O4-cr-20506-.]PI\/| Document 32 Filed 08/29/05 Page 2 of 3 Page|D 62

so ORDERED this 26th day of August, 2005.

QM‘MQ

JO PHIPPS MCCALLA
ITED S'I`ATES DISTRICT JUDGE

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Assistant United States Attorney

 

 

 

t/{p//M v/i%‘

Counse{ for §§Eendant(s)

 

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CR-20506 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

